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 4 Attorney for Defendant ELIZABETH A. HOLMES
 5
 6                               UNITED STATES DISTRICT COURT

 7                             NORTHERN DISTRICT OF CALIFORNIA

 8                                       SAN JOSE DIVISION

 9
     UNITED STATES OF AMERICA,                 )   Case No. CR-18-00258-EJD
10                                             )
             Plaintiff,                        )   DECLARATION OF JOHN D. CLINE IN
11                                             )   SUPPORT OF OBJECTIONS TO
        v.                                     )   MAGISTRATE JUDGE COUSINS' RULINGS
12                                             )   ON ELIZABETH HOLMES' MOTION TO
     ELIZABETH HOLMES and                      )   COMPEL AND ROGER PARLOFF'S MOTION
13   RAMESH “SUNNY” BALWANI,                   )   TO QUASH
                                               )
14           Defendants.                       )
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     DECLARATION OF JOHN D. CLINE ISO OBJECTIONS TO MAGISTRATE JUDGE ORDER
     CR-18-00258 EJD
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 1          1.     My name is John D. Cline. I am one of the attorneys for defendant Elizabeth Holmes. I

 2 submit this declaration in support of Ms. Holmes' Objections to Order Granting Motion to Quash
 3 Subpoena Duces Tecum to Roger Parloff and Denying Motion to Compel Compliance With Subpoena
 4 Duces Tecum to Roger Parloff.
 5          2.     Attached as Exhibit A is a true and correct copy of a minute order (Dkt. 1089) granting

 6 Roger Parloff's motion to quash Ms. Holmes' subpoena duces tecum and denying Ms. Holmes' motion to
 7 compel compliance with the subpoena.
 8          3.     Attached as Exhibit B is a true and correct copy of the transcript of the October 14, 2021

 9 hearing on the motion to quash and the motion to compel before Magistrate Judge Cousins.
10          4.     Attached as Exhibit C is a true and correct copy of government trial exhibit 1749. The

11 exhibit consists of an article Mr. Parloff wrote for the June 2014 issue of Fortune magazine.
12          5.     Attached as Exhibit D is a true and correct copy of government trial exhibit 1750. The

13 exhibit consists of the cover of the Fortune issue in which Mr. Parloff's June 2014 article appeared.
14          6.     Attached as Exhibit E is a true and correct copy of government trial exhibit 3033. The

15 exhibit consists of an article Mr. Parloff published in Fortune in January 2016.
16          7.     Attached as Exhibit F is a true and correct copy of a subpoena duces tecum that I sent to

17 Mr. Parloff by email on August 24, 2021, together with the cover letter that accompanied the subpoena.
18          I declare under penalty of perjury that the foregoing is true and correct. Executed this 21st day

19 of October 2021.
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21                                                       /s/ John D. Cline
                                                         JOHN D. CLINE
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     DECLARATION OF JOHN D. CLINE ISO OBJECTIONS TO MAGISTRATE JUDGE ORDER
     CR-18-00258 EJD                           1
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